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9                                    UNITED STATES DISTRICT COURT
10                                NORTHERN DISTRICT OF CALIFORNIA
11                                           OAKLAND DIVISION
12   UNITED STATES OF AMERICA,                     )         No. CR 05-00651 CW
                                                   )
13              Plaintiff,                         )         ORDER GRANTING STIPULATION FOR
                                                   )         PROTECTIVE ORDER RE: DISCOVERY
14         v.                                      )         OF PERSONAL AND FINANCIAL
                                                   )         INFORMATION
15   TIFFANY TAYLOR, CHRISTOPHER                   )
     JOHNSON, JOHN MORGAN, KIM                     )
16   DRAGO, and MICHAEL DOWNEY,                    )
                                                   )
17              Defendants.                        )         OAKLAND VENUE
                                                   )
18                                                 )
19              With the agreement of the parties, and with the consent of the defendant, the Court enters
20   the following order:
21              Defendant Kim Drago is charged with one count of conspiracy, in violation of 18 U.S.C.
22   §371. Upon request, the United States will produce to counsel for the defendant discovery that
23   contains personal identifying information, including social security numbers, birth dates and
24   driver’s license numbers, and private financial information, including account numbers and
25   locations, pertaining to the victims in this case. Pursuant to Federal Rule of Criminal Procedure
26   16, the government requests that disclosure of these materials be subject to the following
27   restrictions:
28   ///

     PROTECTIVE ORDER
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1           1.      Except when being actively examined for the purpose of the preparation of the
2    defense of defendant Kim Drago, the documents containing personal identifying and private
3    financial information of third parties produced by the government to defense counsel shall be
4    maintained in a locked, safe, and secure drawer, cabinet, or safe which is accessible only to
5    defense counsel, members of his or her law firm who are working with him or her to prepare the
6    defendant’s defense, and his or her investigator. Defense counsel, members of his or her law
7    firm, the defendant, and the investigator shall not permit any person access of any kind to the
8    documents or disclose in any manner the personal identifying and private financial information
9    of third parties except as set forth below.
10          2.      The following individuals may examine the documents and information related to
11   the personal identifying and private financial information of third parties for the sole purpose of
12   preparing the defense of defendant Kim Drago and for no other purpose:
13                  a)      Counsel for defendant;
14                  b)      Members of the counsel for the defendant’s law office who are assisting
15                          with the preparation of Kim Drago’s defense;
16                  c)      Defendant Kim Drago, but only in the presence of defense counsel or
17                          another authorized person listed in this paragraph;
18                  d)      Investigators retained by the defendant to assist in the defense of this
19                          matter.
20   If defense counsel determines that additional persons are needed to review the material, he or she
21   must obtain a further order of the Court before allowing any other individual to review the
22   material.
23          3.      A copy of this order shall be maintained with the documents at all times.
24          4.      All individuals other than defense counsel and the defendant who receive access
25   to the materials pursuant to this Order, prior to receiving access to the materials, shall sign a
26   copy of this Order acknowledging that
27                  a)      they have reviewed the Order;
28                  b)      they understand its contents;

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1                   c)      they agree that they will only access the documents and information for
2                           the purposes of preparing a defense for defendant Kim Drago;
3                   d)      they understand that failure to abide by this Order may result in sanctions
4                           by this Court.
5    Counsel for the defendant shall promptly file signed copies of the Order, ex parte and under seal.
6    The government shall have no access to these signed copies without further order of the District
7    Court.
8             5.    No other person may be allowed to examine the material without further court
9    order. Examination of the documents shall be done in a secure environment which will not
10   expose the materials to other individuals not listed above.
11            6.    Documents such as word processing files, e-mails, and other text files may be
12   duplicated to the extent necessary to prepare the defense of this matter.
13            7.    Any pleadings that reveal the personal identifying or private financial information
14   of third parties, either by attaching copies of documents containing that information or
15   referencing that information, shall be redacted to prevent the disclosure of such information or
16   filed under seal.
17            8.    Within five court days of the judgement and sentencing hearing in this matter, all
18   material provided to defense counsel pursuant to this Order, and all other authorized copies, if
19   any, shall be returned to the Government. The Government shall destroy them. If defendant
20   ///
21   ///
22   ///
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1    believes that she must maintain the material for any reason related to appeal, defendant must
2    seek authorization from the District Court within five days of the sentencing and judgement in
3    this matter.
4
5    STIPULATED:
6
7    DATED:________________               _______________________________
8                                         Attorney for Defendant Drago
9
10   DATED:________________               _______________________________
                                          KIRSTIN M. AULT
11                                        Assistant United States Attorney
12
13          IT IS SO ORDERED that disclosure of the above-described discovery materials shall be
14   restricted as set forth above.
15
16   DATED: 11/9/05
17
                                          ____________________________
18                                        CLAUDIA WILKEN
                                          United States District Judge
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     PROTECTIVE ORDER
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